Case 1:20-cr-O0008-MKB Document 105-22 Filed 02/13/23 Page 1 of 4 PagelD #: 721
a ne
12/3/17 3:35:14 PM EST

Biit-we)k-se(sal mel ETale| u

12/3/17 4:05:29 PM EST
Can get quote please? Reach out direct?
12/4/17 2:51:07 PM EST

1.35B of Alchemist/Steve tokens are eligible for Storm Drop. We are in
agreement.

12/4/17 2:51:26 PM EST

AV Jat=lar-lelel lm tal-me)ial-) mellem enliii(eaiea

mM at- 18M (ele: (le MU oma 10m [e)|

12/4/17 2:51:40 PM EST

12/4/17 2:51:48 PM EST

12/4/17 2:51:57 PM EST

NIU) Mel al oet- 18a

12/4/17 2:52:04 PM EST

bolt ale A -e- K-Ci llale Mele mT)

12/4/17 2:52:17 PM EST

PN ale MU -me (eM at-|°) ova i-\-1 80 (-la(er-)

12/4/17 2:52:30 PM EST

yup. give me the addresses too before december 7th. Presale address,
and then also the Alchemist addresses.
Case 1:20-cr-O0008-MKB Document 105-22 Filed 02/13/23 Page 2 of 4 PagelD #: 722
a

12/4/17 2:53:01 PM EST

Slo ayo 00) |I(e) am —11(e]/o)(- mle im altro Come] \V-mel0I-|| Mtl mle (| (Sst)

12/4/17 2:53:09 PM EST

12/4/17 2:53:12 PM EST

12/4/17 2:53:25 PM EST

SIUM aleve Come (1m olU\ em im fekel- NL

12/4/17 2:53:26 PM EST

... uh, no. i said 1.35 billion eligible.

12/4/17 2:53:45 PM EST

10) Wale -s-l(e 4-1 lem tle -- ele eda

12/4/17 2:53:50 PM EST

12/4/17 2:54:30 PM EST

Oh steve... will chat w J and get back to you.

12/4/17 2:54:37 PM EST

HE is now at lunch meeting and with folks.

12/4/17 2:54:46 PM EST

will call you back on that portion

Case 1:20-cr-O0008-MKB Document 105-22 Filed 02/13/23 Page 3 of 4 PagelD #: 723
a ne

12/4/17 2:55:06 PM EST

MVM Tea a=] 0) Va mele me] c-1-m CoM im ami) | PM MIMU(Y—m tp lol1-m (0). (atom (OM E-1 <-Mer- |i)

fo) (al-m=t- 18 n-m el—10) e)(—

12/4/17 2:55:09 PM EST

we want to take care of you. we also want to take care of company/
community. give us a moment

12/4/17 2:55:16 PM EST

12/4/17 2:55:17 PM EST
a
ok?
12/4/17 2:55:28 PM EST
Neimeeyananle alin
12/4/17 2:55:29 PM EST
as

will get back to you.

12/4/17 2:55:36 PM EST

you are. a very big community.

12/4/17 2:55:38 PM EST

INCRE TIC)

12/4/17 2:55:44 PM EST

more than family. <>

Case 1:20-cr-O0008-MKB Document 105-22 Filed 02/13/23 Page 4 of 4 PagelD #: 724
a ne

12/4/17 2:55:58 PM EST

12/4/17 2:56:50 PM EST

Manme(— late Me) oM-1@ey-lee mela m tina odin iale (Wan OM ntl—1-) ae] (e)ey-1 Malte ke) | _ rae) ei

re) Aare] Cinrelele]am Manel latialemcom MVM ical al)

12/4/17 2:57:04 PM EST

we understand. however, we need to think, and not just react
emotionally. give us amoment. ~&

12/4/17 2:57:07 PM EST

YOUR BIRTHDAY!???!?

12/4/17 2:57:11 PM EST

When’s that? Tomorrow?

12/4/17 2:57:13 PM EST

12/4/17 2:57:17 PM EST

12/4/17 2:57:22 PM EST

s}a tale Wa eal kA
SYoMer-1a mey- 118

=AV/-1 Ye) a MM at-10)e) Va tal NVA Blea a0 nae la Ne) a -1 a Batlle

12/4/17 2:57:26 PM EST

12/4/17 2:58:07 PM EST

